             Case 1:22-cr-01722-KWR          Document 86        Filed 02/14/24      Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       vs.                                        )                            Case No. 22-CR-1722-KWR
                                                  )
MARQUIS CRUZ,                                     )
                                                  )
               Defendant.                         )

                              MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court upon the United States’ Unopposed Motion in Limine to

Preclude Discussion of Defendant’s Hearsay Statements in Front of the Jury. Doc. 63. The United

States moves this Court to prohibit Defendant, his counsel, or any defense witnesses from eliciting

hearsay statements of Defendant. Id. at 1. Having reviewed the parties’ pleadings and applicable law,

this Court finds the United States’ motion is well taken and therefore, is GRANTED.

       Federal Rule of Evidence 801 defines “hearsay” as a statement that, “(1) the declarant does not

make while testifying at the current trial or hearing; and (2) a party offers in evidence to prove the truth

of the matter asserted in the statement.” Fed.R.Evid. 801(c).

       While the Jury is present, Defendant and his counsel are prohibited from adducing hearsay

statements of Defendant.

       IT IS THEREFORE ORDERED that the United States’ Unopposed Motion in Limine to

Preclude Discussion of Defendant’s Hearsay Statements in Front of the Jury (Doc. 63) is GRANTED.



                                               ______________________________________
                                               KEA W. RIGGS
                                               UNITED STATES DISTRICT JUDGE
